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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

 JIMMY LEE KROFT,

       Plaintiff,

 vs.                                            Case No. 2:20-cv-396-JLB-NPM

 WARDEN DEREK SNIDER, et al.,

       Defendants.
 ______________________________________/

            DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES

       COME NOW, Defendants Snider, Gahrmann, Noriega, Walton, Robinson,

 Laux, Boone, and Pavese, by and through undersigned counsel, and hereby file their

 Answer and Affirmative Defenses to Plaintiff’s Sixth Amended Complaint (Doc. 125).

                                  INTRODUCTION

       1.     Denied.

       2.     Denied.

                            JURISDICTION AND VENUE

       3.     Admitted that Plaintiff brings a claim under 42 U.S.C. §§ 1983 and 1988.

 Defendants deny that Plaintiff has successfully stated a claim.

       4.     Admitted.

       5.     Admitted.

       6.     Admitted.
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                                      PARTIES

       7.     Admitted.

       8.     Admitted.

       9.     Admitted.

       10.    Admitted.

       11.    Admitted.

       12.    Admitted.

       13.    Admitted.

       14.    Admitted.

       15.    Admitted.

                                RELEVANT FACTS

       16.    Denied.

       17.    Denied.

       18.    Denied.

       19.    Denied.

       20.    Denied.

       21.    Denied.

       22.    Denied.

       23.    Defendant Pavese is without knowledge.

       24.    Denied.

       25.    Denied as phrased. Denied that Defendants attacked another prisoner.

 Defendants are without knowledge as to Plaintiff’s state of mind.
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          26.   Denied.

          27.   Denied.

          28.   Denied that Defendant Noriega was present for the use of force incident.

 Denied that Defendant Noriega had the ability to intervene or otherwise stop any harm

 to Plaintiff. Denied as to the characterization of the force utilized by Defendants

 Pavese and Walton. Admitted that Defendant Walton took reasonable actions to take

 custody of Plaintiff’s person after Plaintiff refused to comply with lawfully-issued

 orders. Defendants are without knowledge as to Defendant Pavese’s presence at the

 scene.

          29.   Denied as phrased. Admitted that Defendants Laux, Walton, and Boone

 took custody of Plaintiff’s person after Plaintiff refused to comply with Defendants’

 lawfully-issued orders. Defendants are without knowledge as to Defendant Pavese’s

 presence at the scene. Defendant Sperling is deceased and as such, not served with the

 present lawsuit. Accordingly, an answer is not required as to any allegations pertaining

 to Defendant Sperling.

          30.   Admitted as to Defendants Walton and Boone. Defendants are without

 knowledge as to Defendant Pavese’s presence at the scene. Defendant Sperling is

 deceased and as such, not served with the present lawsuit. Accordingly, an answer is

 not required as to any allegations pertaining to Defendant Sperling.

          31.   Denied as phrased. Admitted that Defendants Boone, Walton, Laux, and

 Gahrmann took reasonable actions to maintain custody of Plaintiff’s person after

 Plaintiff refused to comply with Defendants’ lawfully-issued orders. Defendants are
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 without knowledge as to Defendant Pavese’s presence at the scene. Defendant

 Sperling is deceased and as such, not served with the present lawsuit. Accordingly, an

 answer is not required as to any allegations pertaining to Defendant Sperling.

        32.      Denied.

        33.      Denied.

        34.      Denied.

        35.      Denied as phrased. Admitted that Defendants Walton, Laux, Boone, and

 Gahrmann followed their superior’s orders. Denied that Defendant Robinson’s orders

 were unconstitutional. Defendants are without knowledge as to Defendant’s Pavese

 presence at the scene.

        36.      Denied as to Plaintiff’s characterization of the force used. Defendant

 Gahrmann admits that he utilized appropriate use of force to resolve the security threat

 presented by Plaintiff.

        37.      Denied as to Plaintiff’s characterization of the force used. Defendant

 admits that a use of force event took place on the date alleged and avers that Defendant

 utilized appropriate use of force to resolve the security threat presented by Plaintiff.

        38.      Denied.

        39.      Denied.

        40.      Denied.

        41.      Denied as to Plaintiff’s characterization of the force used. Defendant

 admits that he utilized appropriate use of force to resolve the security threat presented

 by Plaintiff.
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        42.   Denied.

        43.   Denied.

        44.   Admitted that Defendant Robinson ordered Plaintiff to be escorted to

 medical, otherwise denied.

        45.   Admitted that Plaintiff was examined by medical staff. Defendants are

 without knowledge as to the remainder of the allegations in this paragraph.

        46.   Defendants are without knowledge.

        47.   Defendants are without knowledge.

        48.   Admitted.

        49.   Defendants are without knowledge as to any actions of the unnamed

 prisoner. The remainder of the allegations in this paragraph are denied.

        50.   Admitted that Plaintiff was examined by a doctor and was thereafter

 transferred to a hospital. Denied that Defendants brutally attacked Plaintiff. Denied

 insofar as Plaintiff’s alleged injuries are attributed to Defendants’ actions or omissions.

        51.    a. Admitted that Plaintiff sustained fractures to his vertebrae and that his

 treatment included the use of a back brace. Denied that vertebrae fractures resulted in

 arthritis.

               b. Denied that Plaintiff’s jaw was fractured during the incident and aver

 that medical records reflect a mandible fracture and that treatment included wiring

 Plaintiff’s mouth shut.

               c. Admitted that Plaintiff sustained fractures to his ribs and that his

 treatment included the use of a back brace and spirometer.
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                d. Admitted that Plaintiff sustained fractures to the left index finger and

 pinky fingers that he has received treatment for same.

                e. Admitted that Plaintiff sustained fractures to the left big toe and

 prescribed soft shoes as a result.

                f. Admitted that Plaintiff sustained a hematoma and hemorrhaging in the

 ear. Admitted that Plaintiff has been diagnosed with hearing loss.

                g. Defendants deny that Plaintiff’s eye was lacerated during the incident

 and aver that medical records reflect a lacerated left eyebrow.

                h. Admitted that medical records reflect abrasions to Plaintiff’s face

 following the incident.

                i. Denied.

          52.   Denied.

          53.   Denied.

                                         COUNT I

           Violation of 42 U.S.C. § 1983 for First Amendment Retaliation
    (against Colonel Robinson, Captain Gahrmann, Sergeant Laux, and Officers
                            Pavese, Boone, and Walton)

          Defendants Robinson, Gahrmann, Laux, Pavese, Boone, and Walton repeat

 their responses in paragraphs 1 through 53 above, as if fully set forth herein and further

 state:

          54.   Denied.

          55.   Denied.

          56.   Denied.
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       57.    Admitted that Plaintiff has a First Amendment right to report misconduct

 via the filing of a grievance. Denied that Plaintiff’s First Amendment right was

 violated.

       58.    Denied.

       59.    Denied.

       60.    Denied.

       61.    Admitted that Plaintiff has retained counsel. Denied that Plaintiff is

 entitled to an award of attorney’s fees and costs.

       WHEREFORE, Defendants Robinson, Gahrmann, Laux, Pavese, Boone, and

 Walton seek dismissal of Plaintiff’s Sixth Amended Complaint and that Plaintiff

 recovers nothing.

                                       COUNT II

                 Violation of 42 U.S.C. § 1983 for Excessive Force
   (against Captain Gahrmann, Sergeant Laux, and Officers Walton, Boone, and
                                     Pavese)

       Defendants Gahrmann, Laux, Walton, Boone, and Pavese repeat their answers

 in paragraphs 1 through 53 above, as if fully set forth herein and further answer:

       62.    Admitted that Plaintiff has an Eighth Amendment right to be free from

 cruel and unusual punishment while incarcerated. Denied that Plaintiff’s Eighth

 Amendment right was violated.

       63.    Denied.

       64.    Denied.

       65.    Denied.
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       66.    Denied.

       67.    Admitted that Defendant Walton handcuffed Plaintiff. Denied that

 Plaintiff submitted to orders or otherwise complied with Defendants’ lawful orders.

       68.    Denied.

       69.    Denied.

       70.    Denied.

       71.    Admitted that Plaintiff has retained counsel. Denied that Plaintiff is

 entitled to an award of attorney’s fees and costs.

       WHEREFORE, Defendants Gahrmann, Laux, Walton, Boone, and Pavese

 seek dismissal of Plaintiff’s Sixth Amended Complaint and that Plaintiff recovers

 nothing.

                                      COUNT III

               Violation of 42 U.S.C. § 1983 for Supervisor Liability
        (against Colonel Robinson, Sergeant Laux, and Captain Gahrmann)

       Defendants Robinson, Laux, and Gahrmann repeat and re-allege their answers

 in paragraphs 1 through 53 above, as if fully set forth herein and further answer:

       72.    Admitted that Defendant Robinson had supervisory authority over

 Defendants Pavese, Boone, Walton, Laux, and Gahrmann. Denied that Defendant

 Gahrmann was present at the alleged scene.

       73.    Denied.

       74.    Denied.

       75.    Denied.


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       76.    Denied.

       77.    Denied.

       78.    Admitted that Plaintiff has retained counsel. Denied that Plaintiff is

 entitled to an award of attorney’s fees and costs.

       WHEREFORE, Defendants Robinson, Laux, and Gahrmann seek dismissal of

 Plaintiff’s Sixth Amended Complaint and that Plaintiff recovers nothing.

                                      COUNT IV

               Violation of 42 U.S.C. § 1983 for Failure to Intervene
   (against Lieutenant Noriega, Captain Gahrmann, Sergeant Laux, and Officers
                            Walton, Boone, and Pavese)

       Defendants Lieutenant Noriega, Captain Gahrmann, Sergeant Laux, and

 Officers Walton, Boone, and Pavese repeat and re-allege the answers in paragraphs 1

 through 53 above, as if fully set forth herein and further answer:

       79.    Denied that Defendant Noriega witnessed excessive force committed

 against Plaintiff. Denied that Defendant Noriega was present for the use of force

 against Plaintiff. Denied that Defendants Walton, Boone, Laux, Gahrmann, and

 Pavese committed extreme violence and torture on Plaintiff in violation of the Eighth

 Amendment to the U.S. Constitution. Defendant Sperling is deceased and as such, not

 served with the present lawsuit. Accordingly, an answer is not required as to any

 allegations pertaining to Defendant Sperling.

       80.    Denied.

       81.    Denied as phrased. Denied that Plaintiff was “attacked.” Admitted that

 government officials may not beat or use gratuitous force against a prisoner who is
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  subdued or incapacitated. Skrtich v. Thornton, 280 F.3d 1295, 1303 (11th Cir. 2002)

  (emphasis added).

        82.    Denied that gratuitous violence was used against Plaintiff. Denied that

  Defendants were in a position to stop gratuitous violence against Plaintiff.

        83.    Denied.

        84.    Denied.

        85.    Denied.

        86.    Admitted that Plaintiff has retained counsel. Denied that Plaintiff is

  entitled to an award of attorney’s fees and costs.

        WHEREFORE, Defendants Noriega, Gahrmann, Sergeant Laux, and Officers

  Walton, Boone, and Pavese seek dismissal of Plaintiff’s Sixth Amended Complaint

  and that Plaintiff recovers nothing.

                                         COUNT V

                  Violation of 42 U.S.C. § 1983 for Failure to Protect
         (against Warden Snider, Colonel Robinson, and Lieutenant Noriega)

        Defendants Warden Snider, Colonel Robinson, and Lieutenant Noriega repeat

  and re-allege paragraphs 1 through 53 above, as if fully set forth herein and further

  answer:

        87.    Admitted that Plaintiff has an Eighth Amendment right to be free from

  cruel and unusual punishment, while incarcerated. Denied that Plaintiff’s Eighth

  Amendment right was violated.

        88.    Denied that Defendants Noriega, Snider, and Robinson each knew that

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  there was a substantial risk of harm to Plaintiff. Denied that Defendant Noriega

  personally observed and heard Defendant Robinson’s orders to break Plaintiff’s bones.

  Denied that Defendant Snider was made aware of Defendant Robinson’s orders.

  Denied that Defendant Robinson made orders to beat and break Plaintiff’s bones.

        89.    Denied that Defendants Snider, Robinson, and Noriega were deliberately

  indifferent to any risk to Plaintiff. Denied that Defendant Robinson issued orders to

  beat Plaintiff and break Plaintiff’s bones. Denied that other prisoners were removed

  from the dining hall for the purpose of segregating Plaintiff.

        90.    Denied that Defendants Snider, Robinson, and Noriega were deliberately

  indifferent to any risks to Plaintiff. Denied that Defendant Noriega was present for the

  use of force against Plaintiff. Denied that Plaintiff was brutally attacked and tortured.

  Denied that Defendants failed to protect Plaintiff. Denied as to the characterization of

  the force used. Defendants admit that a use of force event took place on the date

  alleged and aver that appropriate use of force was utilized to resolve the security threat

  presented by Plaintiff.

        91.    Denied.

        92.    Denied.

        93.    Denied that Defendants Noriega, Robinson, and Snider inferred or knew

  of any risks to Plaintiff. Denied that Defendants failed to protect or otherwise act.

  Denied that Defendant Noriega was present for the use of force against Plaintiff.

        94.    Denied.

        95.    Denied.
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        96.    Admitted that Plaintiff has retained counsel. Denied that Plaintiff is

  entitled to an award of attorney’s fees and costs.

        WHEREFORE, Defendants Snider, Robinson, and Noriega seek dismissal of

  Plaintiff’s Sixth Amended Complaint and that Plaintiff recovers nothing.

                                        COUNT VI

                   Violation of 42 U.S.C. § 1983 for Failure to Treat
                                (against all Defendants)

        Defendants repeat and re-allege paragraphs 1 through 53 above, as if fully set

  forth herein and further answer:

        97.    Admitted that Plaintiff has an Eighth Amendment right to timely and

  adequate medical treatment while incarcerated.

        98.    Denied.

        99.    Denied that Defendants Pavese, Boone, Walton, Laux, and Gahrmann

  maliciously and sadistically beat and tortured Plaintiff or committed any of the acts or

  omissions alleged in this paragraph. Denied that all Defendants were present during

  the use of force against Plaintiff. Denied that Defendants knew or should have known

  that Plaintiff had an objectively serious medical need that if left unattended would pose

  a substantial risk of harm. Defendant Sperling is deceased and as such, not served with

  the present lawsuit. Accordingly, an answer is not required as to any allegations

  pertaining to Defendant Sperling.

        100. Denied that Plaintiff was tortured. Denied that Plaintiff was gasping for

  air, begging for life, or demanding medical attention.


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         101. Denied.

         102. Denied that Defendants knew that Plaintiff was in serious need of

  medical care. Denied that Defendants disregarded the risk of serious harm to Plaintiff

  by refusing to immediately permit him to seek more than cursory treatment. Denied

  that the treatment received by Plaintiff amounted to no treatment at all insofar as it

  attributes same to any acts or omissions of Defendants.

         103. Denied.

         104. Admitted that Plaintiff was examined by a nurse. Denied that

  Defendants prohibited Plaintiff from other medical treatment. Otherwise, Defendants

  are without knowledge.

         105. Admitted that Plaintiff was returned to confinement and housed with

  another prisoner. Denied that Plaintiff continued to plead for real medical treatment.

         106. Defendants are without knowledge as to the actions by Plaintiff’s

  cellmate. Admitted that Plaintiff was taken to see a doctor.

         107. Admitted that Plaintiff was taken to a hospital. Defendants are without

  knowledge as to the timing of the doctor’s orders or requests.

         108. Admitted that imaging taken at the hospital showed various fractures and

  injuries.

         109. Denied.

         110. Admitted that Plaintiff has retained counsel. Denied that Plaintiff is

  entitled to an award of attorney’s fees and costs.

         WHEREFORE, Defendants Snider, Robinson, Noriega, Gahrmann, Laux,
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  Boone, Pavese, and Walton seek dismissal of Plaintiff’s Sixth Amended Complaint

  and that Plaintiff recovers nothing.

                                         COUNT VII

            Conspiracy to Violate Civil Rights under 42 U.S.C. § 1985(2)
   (against Warden Snider, Colonel Robinson, Sergeant Laux, Captain Gahrmann
                     and Officers Pavese, Boone, and Walton)

        Defendants Warden Snider, Colonel Robinson, Sergeant Laux, Captain

  Gahrmann, and Officers Pavese, Boone, and Walton repeat and re-allege paragraphs

  1 through 53 above, as if fully set forth herein and further answer:

        111. Denied.

        112. Denied.

        113. Denied as to the allegations against defendants Snider, Robinson, Laux,

  Gahrmann, Pavese, Boone, and Walton. Defendants are not required to respond to

  allegations pertaining to Nurse Wilson and are without knowledge regarding same.

        114. Denied.

        115. Denied.

        116. Denied.

        117. Denied.

        118. Admitted that Plaintiff has retained counsel. Denied that Plaintiff is

  entitled to an award of attorney’s fees and costs.

        WHEREFORE, Defendants Snider, Robinson, Laux, Gahrmann, Pavese,

  Boone, and Walton seek dismissal of Plaintiff’s Sixth Amended Complaint and that

  Plaintiff recovers nothing.
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                                 DEMAND FOR A JURY TRIAL


         This section does not require a response.


                                   AFFIRMATIVE DEFENSES

  1. Defendants acted reasonably with the discretion of their positions and within the

  course and scope of their employment and did not violate any clearly established

  statutory or constitutional right of the Plaintiff of which a reasonable person would

  have known, and therefore, are entitled to qualified immunity from suit. By use of this

  Affirmative Defense, Defendants in no manner, implied or otherwise, admit to any of

  Plaintiff’s allegations as so herein indicated.

  2. Plaintiff did not suffer a physical injury that is greater than de minimis due to the

  action or inaction of the Defendants and is therefore not entitled to compensatory or

  punitive damages under the Prison Litigation Reform Act, 42 U.S.C. § 1997e(e).

  3. Plaintiff was given ample opportunity, including all requisite warnings plus an

  additional amount of time to comply with lawfully-issued orders of corrections

  officials. It was only after such opportunity and repeated warnings that Plaintiff

  disobeyed lawful commands prompting appropriate use of force by corrections

  officials.

  4. Defendants did not apply excessive force or otherwise abuse Plaintiff in violation

  of Plaintiff’s constitutional rights.




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  5. The type and amount of force used upon Plaintiff was the minimal amount

  necessary to resolve the security threat presented by Plaintiff and prevent further

  assault upon an officer and to gain lawful compliance from Plaintiff and did not

  amount to excessive force.

  6. Plaintiff cannot establish that the Defendants acted with deliberate indifference to

  the health or safety of the Plaintiff, nor can Plaintiff establish that Defendants acted

  with a sufficiently culpable state of mind as required for liability under 42 U.S.C. §

  1983.

  7. Plaintiff has failed to state a claim for punitive damages because he has not alleged

  the type of conduct that would meet the standards set forth by Smith v. Wade, 461 U.S.

  30, 56 (1983).

  8. Defendants are entitled to reduction of any award to the Plaintiff for indemnity

  received by the Plaintiff from collateral sources as provided for in § 768.76, Florida

  Statutes, as well as any judgments or debts owed to the State of Florida, including civil

  restitution liens pursuant to subsections 960.292(2) and 960.293(2)(b), Florida Statutes.

  9. The damages and relief sought by Plaintiff are unreasonable, unwarranted, and

  excessive.

                          RESERVATION OF RIGHT TO AMEND

          Defendants reserve the right to amend and supplement these affirmative

  defenses adding such additional affirmative defenses as may appear appropriate upon

  further discovery being conducted in this case.



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                                DEMAND FOR JURY TRIAL

        Defendants hereby demand a trial by jury for all matters so triable as of right.

        WHEREFORE, having fully answered the Sixth Amended Complaint,

  Defendants deny the Plaintiff is entitled to the relief sought, or any relief whatsoever.

  Defendants respectfully request judgment in their favor and against Plaintiff.

  Dated: August 2, 2022                    Respectfully submitted,

                                           ASHLEY MOODY
                                           ATTORNEY GENERAL

                                           /s/ Linda Shaljani
                                           Linda Shaljani
                                           Assistant Attorney General
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                                           Counsel for Defendants


                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 2, 2022, I electronically filed the

   foregoing with the Clerk of Court using the NextGen CM/ECF system, which will

   electronically serve copies of the foregoing upon those parties capable of receiving

   such service. I further certify that I served by First-Class U.S. Mail a copy of the


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   foregoing document to Plaintiff, pro se, Jimmy Lee Kroft, DC# X25395, Reception

   and Medical Center, P.O. Box 628, Lake Butler, Florida 32054-0628.



                                             /s/ Linda Shaljani
                                             Assistant Attorney General




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